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AO 91 (Rev. 08/09) Criminal Complaint ' Unned . "
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UNITED STATES DISTRICT CoURT “'LE.‘? ,
for the MAR 2 5 ZUlg

 

Southern District of Texas

 

Davld J. Bradley, Clerlq'
United States of America ) `
v ) » ' __,
Magnoiy JuAREz-olmos _, ~ OO(H q~ /L/\
l\/lexican Nationa| ) _ Case NO' M /q
YoB 1993 / §
' )
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the vdate(s) of l\/larch 23, 2019 in the county of Hidal@ in the
Southern District of ~ Texas § the defendant(s) violated: y
Code Section Ojj‘ense Descriptz`on
21 United States Code § 952 Defendant did knoilvingly and intentionally import from the United l\/lexican `

States into the United States approximately 43.40 kilograms of
methamphetamine,a scheduled ll controlled substance

21 United States Code § '952 ' Defendant did knowingly and intentionally import from the United lV|exican

States into the United States approximately 19.98 kilograms of heroin
a scheduled l controlled substance ,

This criminal complaint is based on these facts:

SEE A'l'l`ACHl\/|ENT "A"

v/ Continued on the attached sheet.

l
v Compla'inant 's\§ignature

Laurence Diamond, HSl-SA

Printed name and title

‘ Swo 7

Date: 3/25/2019 § ‘. Z'L q »»\,. /& 2 d/<»M~/lf]
Judge ’s signature

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Peter Ormsby, US l\/lagistrate Judge

Printed name and title

 

 

City and state: McA|len, Texas

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Attachment “A”

On March 23, 2019, Homeland Security Investigations (HSI), McAllen, TeXas,
was notified by United States Customs and Border Protection (CBP) that Magnoly'
JUAREZ- Olmos made entry into the United States via the Pharr Port of Entry m
Pharr, Texas. JUAREZ- Olmos was the driver of a white Nissan Rogue displaying
Tamaulipas, Mexico license plates WZJ187A. JUAREZ- Olmos was selected for

' an Automated Targeting System (ATS) secondary inspection

During secondary inspection JUAREZ-Ohnos gave a negative declaration to CBP
_ Ofticers (CBPOS) for possessing any contraband to include narcotics. CBPOS
utilized a narcotic detection canine to inspect the vehicle and received a positive
alert to all four tires for the possible presence of narcotics. CBPOs then utilized
the Z-Portal X-ray machine to conduct a scan of the vehicle and were able to
observe anomalies in all four tires.

CBPOS discovered 18 packages of methamphetamine totaling 43. 40 kilograms and
6 packages of heroin totaling l9. 98 kilograms concealed within the vehicle’ s tires.
The narcotics were sealed m aftermarket metal compartments welded to the wheel.
A field test of the methamphetamine and heroin was conducted. CBP Officers
received a positive reaction for both methamphetamine and heroin individually.

HSI McAllen Special Agents in conjunction with CBP Enforcement Ofticers
responded to the,Pharr, TeXas Port of Entry to interview JUAREZ-Olmos.
JUAREZ-Olmos was read the Miranda Warnings which she waived and
voluntarily agreed to speak with Agents. .TUAREZ- Olmos was interviewed post-
Miranda and admitted culpability stating she knew she was smuggling narcotics
into the United States.

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